          Case 1:18-cr-00218-TSC Document 60 Filed 11/28/18 Page 1 of 2



                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
                                              :       Criminal Case: 18-218 (TSC)
           v.                                 :
                                              :
                                              :
MARIIA BUTINA, also known as                  :
MARIA BUTINA,                                 :
                                              :
                       Defendant.             :

                     Joint Motion to Vacate Dispositive Motions Schedule

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and defendant Mariia Butina, also known as Maria Butina, through her

counsel, Robert Driscoll and Alfred Carry, Esqs., respectfully request that the Court vacate the

current motions schedule. In support of this motion, the parties state that they remain optimistic

about a pretrial resolution of this matter, but were unable to reach a final agreement within the

time period to file dispositive motions. Given the outstanding Motion to Transfer Defendant Maria

Butina into General Population Housing, the parties request to vacate the current briefing schedule

for dispositive motions, but keep the December 19, 2018 date (unless a different, earlier date is

more convenient for the Court and parties) to address the aforementioned Motion and any other

issues that may arise. If the parties are unable to reach a pretrial resolution, we will contact the

Court to request a new briefing and motions schedule. If we are able to reach a disposition, we

may contact chambers to request an earlier date.

       The parties thus jointly request that the Court vacate the current motions schedule, but

retain the December 19, 2018, status hearing (unless a different, earlier date is more convenient

for the Court and parties).

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    Case 1:18-cr-00218-TSC Document 60 Filed 11/28/18 Page 2 of 2



                                             Respectfully submitted,

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                                             D.C. Bar Number 472845
/s/ Alfred D. Carry___________
Alfred D. Carry (DC Bar No. 1011877)         By:___________/s/____________
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                                         2
